UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE                                Civil Action No. 1:22-cv-01346
COMMISSION,

                     Plaintiff,                        NOTICE OF APPEARANCE

               -against-

 JAMES VELISSARIS,

                      Defendant.



       PLEASE TAKE NOTICE that David Slovick, a member in good standing of the Bar of

this Court and a partner with the law firm Barnes & Thornburg LLP, hereby enters his appearance

as counsel of record for Defendant James Velissaris in the above-captioned litigation.

 Dated:     New York, New York
            April 18, 2023

                                             RESPECTFULLY SUBMITTED,


                                             By:    /s/ David Slovick
                                                    David Slovick
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